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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 04-21538-CIV-LENARD/WHITE

MITCHELL HAMMER,

Petitioner, ILED /
' : UE ét2 4 /
__ CLARENCE uf) /
LOREN GRAYER, WARDEN, CLERK, uspc js efi
Respondent.

GOVERNMENT’S RESPONSE TO HABEAS CORPOS PETITION
PARTIES

I. Petitioner

The petitioner, Mitchell Hammer, federal register number 48828-004, is a 52-year-old
male serving an aggregate term of imprisonment of 108 months, followed by a three-year term
supervised released imposed under the Sentencing Reform Act of 1984 for violation of Title 18
USS.C. §§ 371 & 152, Conspiracy to Commit Bank and Securities Fraud & Making a False
Statement in a Bankruptcy Proceeding and for violation of Title 18 U.S.C. § 1956, Money
Laundering. The petitioner has been confined at the Federal Correctional Institution (FCD,
Miami since June 30, 1997, and has a projected release date of May 1, 2005, via Good Conduct
Time. (Attachment A, Public Information Inmate Data for Petitioner).

Il. Respondent

Petitioner has named Loren Grayer as respondent in his petition. The proper party

respondent to a § 2241 habeas corpus petition is the custodian of the prisoner. Braden v. 30th vy

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Judicial Circuit Court of Kentucky, 410 U.S. 484, 495 (1973). “Whenever a §2241 habeas
Petitioner seeks to challenge his present physical custody within the United States, he should
name his warden as respondent and file the petition in the district of confinement.” Rumsfeld v.
Padilla, — U.S. —, 1248S. Ct. 2711, 2724 (2004). Thus, Warden Grayer is the proper party
respondent in this action.
SUBJECT MATTER JURISDICTION

Petitioner invoked jurisdiction pursuant to 28 U.S.C. § 2241. Since the petition has been
filed under the federal habeas corpus statute, and since Petitioner is actually challenging the fact
and/or duration of his confinement due to the administration by the Bureau of the computation of
his good time credits, the proper jurisdictional basis for this claim is Title 28 U.S.C. § 2241.
Section 2241 provides an avenue of relief for inmates challenging administration of their
sentences. Therefore, the Court has jurisdiction pursuant to section 2241. See Preiser v.
Rodriguez, 411 U.S. 475, 500 (1973) (finding writ of habeas corpus is the “sole federal remedy”
for inmates challenging “fact or duration of [their] physical imprisonment”). However, the court
lacks jurisdiction as the Petitioner failed to exhaust administrative remedies and has failed to
present the court with an actual case or controversy as discussed infra.

IN PERSONAM JURISDICTION

In a habeas corpus petition filed under § 2241, the writ can be sought by a federal
prisoner only from a court with jurisdiction over the place of the prisoner’s confinement.
Rumsfield, — U.S. at —, 124 S. Ct. at 2722-26. As both the Petitioner and his custodian,

Warden Loren Grayer, are located at a correctional facility within the jurisdiction of the United
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States District Court for the Southern District of Florida, this court has jurisdiction.
VENUE

Section 2241's venue provisions indicate the petition may be brought in the district court
serving the institution where the petitioner is confined. 28 U.S.C. §2241(d). Petitioner is
confined in a correctional facility located in the Southern District of Florida, so venue is proper.

SERVICE OF PROCESS
Service of process for section 2241 petitions is governed by 28 U.S.C. § 2243.
Section §2243 requires only that the custodian of the prisoner be served with a copy of the
petition and order to show cause. As the custodian of the prisoner, Warden Loren Grayer,
received a copy of the petition and Order to Show Cause, proper service has been effected.
EXHAUSTION OF ADMINISTRATIVE REMEDIES

The Eleventh Circuit has consistently held federal inmates must exhaust available
administrative remedies with the Attorney General, through the Bureau, prior to filing a writ of
habeas corpus pursuant to § 2241. See Gonzalez v. United States, 959 F.2d 211 (11th Cir.
1992); United States v. Mitchell, 845 F.2d 951 (11th Cir. 1988). The Eleventh Circuit has held
exhaustion of administrative remedies is jurisdictional when a petitioner files a writ of habeas
corpus requesting release from a federal prison. Winck v. England, 327 F.3d 1296, 1300 n. 1
(11th Cir. 2003) (recognizing that although there is no statutory requirement that a federal inmate
exhaust his administrative remedies prior to filing a § 2241 writ of habeas corpus, exhaustion is
nonetheless jurisdictional in the Eleventh Circuit); Skinner v. Wiley, 355 F.3d 1293 (11th Cir.

2004) (holding prisoners seeking habeas relief are subject to the administrative exhaustion
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requirement).

The Bureau has established an administrative remedy procedure through which a federal
prisoner may challenge any aspect of his imprisonment. These procedures, codified at 28 C.F.R.
§ 542.10, et seq., provide three levels of appeal (institutional, regional, and national) available to
the inmate if the inmate has not been able to informally resolve his complaint. A decision by the
Bureau is not final, and hence not reviewable by the Court, until relief has been denied at the
national level. See 28 C.F.R. § 542.15(a)(“Appeal to the General Counsel is the final
administrative appeal”).

A review of the administrative remedy records maintained by the Bureau reflects

Petitioner has not exhausted his administrative remedies. In fact, Petitioner has not filed a single

 

administrative remedy pertaining to the issue raised in his petition. (Exhibit B, Administrative
Remedy Generalized Retrieval for Petitioner).
THE PETITION

The pro se Petitioner alleges the Bureau has misinterpreted the good conduct time statute
codified at Title 18 U.S.C. § 3624(b), thereby depriving him of receiving up to 54 days of credit
for each year of incarceration to which he was sentenced, which he claims he is entitled to
receive. Through this petition, he seeks to have the court issue a writ granting him 54 days of
good conduct time for every year of the sentence which was imposed, rather than for every year
actually spent in prison displaying exemplary compliance with prison regulations, in
contradiction to the mandate of Title 18 U.S.C. § 3624(b). Although the Petitioner fails to

specify whether the total GCT he alleges he should receive should be based upon the total of
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each sentence imposed as opposed to his current aggregated term of nine years, it appears the
Petitioner divides the total projected GCT credits by the total of the aggregated sentence
imposed.

FACTS

I. Background

Petitioner was arrested on June 1, 1995, at which time he was released from custody on
bond. On February 28, 1997, he was sentenced on several charges by the United States District
Court, Southern District of Florida, to an aggregate term of 108-month sentence with a three year
supervised release to follow. The sentences were imposed under the provisions of 18 U.S.C. §
3559, the Sentencing Reform Act of 1984 (SRA). Specifically, the petitioner received a 60-
month sentence for violating 18 U.S.C. §§ 371 & 152, Conspiracy to Commit Bank and
Securities Fraud & Making a False Statement in a Bankruptcy Proceeding, which was ordered to
run concurrent with the 108-month sentence imposed for violating 18 U.S.C. § 1956, Money
Laundering. These sentences have been aggregated and converted to a total term in effect of 9
years. ( Declaration of Mary Anne Lawrence, Assistant Inmate System Manager, FCI
Miami).

The aggregated sentence has been computed as commencing on June 30, 1997, the date
the Petitioner voluntarily surrendered to the custody of the Bureau of Prisons. The petitioner has
been awarded one (1) day of prior custody credit for June 1, 1995, which is the date of arrest; and
has thus far earned 378 days of good conduct time toward completion of his sentence. The

awards were made within 15 days after the end of the first year of incarceration, specifically on
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July 13th of ever year, between June 29, 1997, through June 28, 2004.' (Exhibit C, Sentence
Monitoring Good Conduct Data for Petitioner).

II. Regulations and Program Statements

The Bureau’s regulation implementing the award of GCT pursuant to 18 U.S.C.
§ 3624(b) is codified at Title 28 C.F.R. § 523.20. The initial step in analyzing an award of GCT
must be to determine the date of offense. In accord with 18 U.S.C. § 3624(b), if the offense
occurred on or after November 1, 1987, an inmate may earn up to 54 days of credit toward
service of sentence for each year served.’ Congress authorized rewarding inmates who
demonstrate good behavior when it passed the Sentencing Reform Act of 1984. Pub. L. 98-473,
title II, Sec. 212(a)(2) (October 12, 1984). The original text of the law provided an inmate would
receive up to 54 days of credit toward his sentence “‘at the end of each year of his term of
imprisonment, beginning after the first year of the term.” Congressional intent was further
clarified when the word “after” was replaced by the words “‘at the end of.” Criminal Law and
Procedure Technical Amendments Act of 1986, Pub. L. 98-646, §16, 100 Stat. 3592, §§ 16-17.

The good conduct time provision of the Sentencing Reform Act of 1984 (SRA), as

amended, became effective on November 1, 1987, and applies to offenses that occurred on or

 

' For the limited purpose of computing GCT, the Bureau considers time awarded as prior
custody credit in its calculation. In this case, though the inmate was sentenced on February 28, 1997, the
Bureau did not began the GCT computation until June 29, 1997. This date represents the Bureau's
calculation of the date the inmate self-surrendered to Bureau custody (June 30, 1997) and credits the
inmate with the one (1) day of jail credit (June 1, 1995, date of arrest) by adjusting the date for which
computation of GCT to be awarded will begin. Therefore, he was eligible to receive GCTand did in fact
receive up to 54 days of GCT each year, commencing on June 29, 1997, through the present.

? Subsequent amendments limit the award to a maximum of 42 days if the inmate fails to meet
the educational requirements.
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after November 1, 1987, but before April 26, 1996. Since Petitioner’s date of offense on his
sentences were June 26, 1992, and May 18, 1993, these sentences were imposed under the SRA,
and therefore, subject to aggregation.’ These sentences form a single sentence for computation
purposes in accordance with Title 18 U.S.C. § 3584(c).

Section 3624(b) provides that a prisoner serving a term of imprisonment of more than one
year, other than a term of life, is eligible to receive up to 54 days GCT credit “at the end of’ each
year of imprisonment, provided the prisoner satisfactorily complies with institutional disciplinary
regulations. For those prisoners who maintain a clear conduct record, such credit is
automatically given by the Bureau. (Ex. D, Federal Bureau of Prisons Program Statement
5580.28, Sentence Computation Manual (CCCA of 1984) at 1-40, 1-41). Though current law
does not authorize credit to vest until the inmate’s release, the version of § 3624 applicable to
petitioner authorizes credit to vest at the time it is received, and once vested, could not later be
withdrawn. Id. The version of section 3624(b), in effect on the date of Petitioner’s offense,
states:

(b) Credit toward service of sentence for satisfactory behavior.--

A prisoner who is serving a term of imprisonment of more than one year, other

than a term of imprisonment for the duration of his life, shall receive credit toward

the service of his sentence, beyond the time served, of fifty-four days at the end of

each year of his term of imprisonment, beginning at the end of the first year of the

term, unless the Bureau of Prisons determines that, during that year, he has not

satisfactorily complied with such institutional disciplinary regulations as have
been approved by the Attorney General and issued to the prisoner. If the Bureau

 

3 The word aggregate as define by the Merriam-Webster’s Collegiate Dictionary, Tenth Edition,
means: formed by the collection of units or particles into a body, mass, or amount; the whole sum or
amount.
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determines that during that year, the prisoner has not satisfactorily complied with

such institutional regulations, he shall receive no such credit toward service of his

sentence or shall receive such lesser credit as the Bureau determines to be

appropriate. The Bureau's determination shall be made within fifteen days after

the end of each year of the sentence. Such credit toward service of sentence vests

at the time it is received. Credit that has been vested may not later be withdrawn,

and credit that has not been earned may not later be granted. Credit for the last

year or portion of a year of the term of imprisonment shall be prorated and

credited within the last six weeks of the sentence.
Sentencing Reform Act of 1984, Pub. L. 98-473, title II, Sec. 212(a)(2) (1984); as amended by
Criminal Law and Procedure Technical Amendments Act of 1986, Pub. L. 98-646, §16, 100 Stat.
3592, §§ 16-17.

There have been subsequent amendments to the statutory provisions of
§ 3624(b) as discussed infra. However, the statutory language incorporating only the initial
amendment to the SRA version, as cited above, is applicable to the Bureau’s award of GCT to
Petitioner, since Petitioner’s date of offense was June 26, 1992, and May 18, 1993.

LEGAL ANALYSIS

I. Authority to Award Jail Time Credit Rests with the Attorney General

The Attorney General, through the Bureau of Prisons, is responsible for computing a
prisoner’s sentence, and applying and administering GCT pursuant to 18 U.S.C. § 3624. See
United States v. Wilson, 503 U.S. 329 (1992)*; Gonzalez v. United States, 959 F.2d 211, 212

(11th Cir. 1992) (Bureau of Prisons is responsible for computing of a sentence). Even before, the

Eleventh Circuit Court of Appeals held the power to grant jail time credit lies exclusively with

 

* While Wilson specifically dealt with sentence computation decisions made under 18 U.S.C. §
3585, the same principle applies to the awarding of GCT, because the amount of GCT time an inmate is
eligible to receive is considered when Bureau staff compute that inmate's federal sentence.

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the Attorney General. See United States v. Lucas, 898 F.2d 1554 (11th Cir. 1990)(per curiam).
When statutes charge agencies with the responsibility of administering a statutory
scheme, the agencies’ reasonable interpretations of the statute they are applying is entitled to
deference. See Howe v. Smith, 452 U.S. 473, 485 (1981). Although not determinative, the
construction of a statute by those charged with its administration is entitled to great deference,
particularly when that interpretation has been followed consistently over a long period of time.
U.S. v. Clark, 454 U.S. 555, 565 (1982). The Supreme Court in Chevron U.S.A. Inc. v. Natural

Defense Resources Council, Inc., 467 U.S. 837 (1984), set forth the analysis for judicial review

 

of agency decisions applicable here.

When a court reviews an agency's construction of the statute which it administers,
it is confronted with two questions. First, always, is the question whether
Congress has directly spoken to the precise question at issue. If the intent of
Congress is clear, that is the end of the matter; for the court, as well as the agency,
must give effect to the unambiguously expressed intent of Congress. If however,
the court determines Congress has not directly addressed the precise question at
issue, the court does not simply impose its own construction on the statute, as
would be necessary in the absence of an administrative interpretation. Rather, if
the statute is silent or ambiguous with respect to the specific issue, the question
for the court is whether the agency's answer is based on a permissible construction
of the statute.

Chevron, 467 U.S. at 842-43.

Moreover, the reviewing court need not “conclude that the agency construction was the only
one it permissibly could have adopted to uphold the construction, or even the reading the court would
have reached if the question initially had arisen in a judicial proceeding.” Id. at 843, n. 11. The courts
must accord “considerable weight . . . to an executive department's construction of a statutory scheme

it is entrusted to administer...” Id. at 844.
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This principle of deference “has been consistently followed . . . whenever decision as to the
meaning or reach of a statute has involved reconciling conflicting policies, and a full understanding of
the force of the statutory policy in the given situation has depended upon more than ordinary
knowledge respecting the matters subjected to agency regulations.” Id. at 845 (quoting United States v.
Shimer, 467 U.S. 374, 382, 383 (1961)(citations omitted). In Cook v. Wiley , the Eleventh Circuit
acknowledged the Supreme Court’s determination that a Bureau Program Statement is entitled to some
deference “[so long as] it is a permissible construction of the statute.” Cook v. Wiley, 208 F3d. 1314,
1319 (11th Cir. 2000) (citing Reno v. Koray, 515 U.S. 50, 61 (1995)). In Pacheco-Camacho v. Hood,
the Ninth Circuit held the Bureau’s regulation in question, 28 C.F.R. 523.20, is entitled to the full
deference mandated by Chevron. Pacheco-Camacho v. Hood, 272 F.3d 1266 at 1268 (9th Cir. 2001)
(decided after Christensen v. Harris County, 529 U.S. 576 (2000)).

At issue is whether the Bureau exceeded its statutory authority in the implementation of Title
18 U.S.C. § 3624 (b) and the calculation of GCT credits. The Bureau has created a formula in which
each prisoner may earn up to 54 days GCT for each full year served on a sentence. The Petitioner
argues the interpretation of the concept “term of imprisonment” compels the court to conclude
Congress intended for the application of GCT to be based on the length of the sentence imposed, as
opposed to being credited incrementally after each year of time actually served. The statute clearly
states in part,

A prisoner who is serving a term of imprisonment of more than one year, other
than a term of imprisonment for the duration of his life, shall receive credit toward
the service of his sentence, beyond the time served, of fifty-four days at the end

of each year of his term of imprisonment, beginning at the end of the first year
of the term, unless the Bureau of Prisons determines that, during that year, he has

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not satisfactorily complied with such institutional disciplinary regulations as have
been approved by the Attorney General and issued to the prisoner.

Sentencing Reform Act of 1984, Pub. L. 98-473, title II, Sec. 212(a)(2) (1984); as amended by
Criminal Law and Procedure Technical Amendments Act of 1986, Pub. L. 98-646, §16, 100 Stat.
3592, §§ 16-17.

The good conduct time statute clearly contemplates the award of 54 days of credit only “at the
end of each year” in service of the sentence. Sentencing Reform Act of 1984, Pub. L. 98-473, title II,
Sec. 212(a)(2) (1984); as amended by Criminal Law and Procedure Technical Amendments Act of
1986, Pub. L. 98-646, §16, 100 Stat. 3592, §§ 16-17. This is significant language as Congress had
originally indicated the award of credit would be “‘after” the first year. Sentencing Reform Act of
1984, Pub. L. 98-473, Title II, Sec. 212(a)(2) (1984). What other words could Congress have been
required to use to express its intent to have the Bureau award the amount of good time credit earned ‘at
the end of each year’? Contrary to Petitioner’s argument of entitlement, the statute clearly charges the
Bureau with the authority to vest these credits only after the inmate has satisfactorily complied with
institutional disciplinary regulations. 18 U.S.C. § 3624(b). The explicit provision of authority which
Congress delegated to the Bureau clearly evidences Congressional intent for the inmate to comply with
the prison rules before being awarded the credit. Id. Under the framework proposed by the Petitioner,
inmates would receive good conduct time credit for time they were not serving a sentence (that is, the
Petitioner wants the 54 days awarded prior to service of a full year of incarceration). Such a
construction of the statute would render moot the discretion afforded the Bureau to not award credit

when an inmate’s behavior is not satisfactory.

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Like here, the petitioner in Pacheco-Camacho v. Hood claimed the Bureau had improperly
denied him his GCT due to the Bureau’s interpretation of the phrase “term of imprisonment.”

Pacheco-Camacho v. Hood, 272 F.3d 1266 (9th Cir. 2001). Pacheco alleged the phrase must refer to a

 

sentence imposed in the judgment, as opposed to the time actually served. Id. The Pacheco court
disagreed, holding this interpretation was inconsistent with the statute. Id. at 1268. The Bureau
regulation adopting a scheme whereby an inmate is credited with 54 days of good conduct time at the
end of each year of imprisonment provided he has not lost any time due to disciplinary infractions falls
within the implied statutory authority of the Bureau. Jd. at 1270. Other circuits have agreed the federal
good time statute, 18 U.S.C. § 3624, is clear as to the delegation to the Bureau to determine a federal
prisoner’s GCT credit, and not the courts. Gonzalez v. United States, 959 F.2d 211, 212 (11th Cir.
1992) (citing United States v. Martinez, 837 F.2d 861, 865-66 (9th Cir. 1988)); United States v. Evans,
1 F.3d 654, 654 (7th Cir. 1993). See also Ramos v. Gonzalez, No. 03-22377-CIV-SEITZ (S.D. Fla.)
report of Magistrate Judge at 2 (recommending denial of the Petition finding Bureau’s calculation
reasonable).

The calculation of sentences, which includes application of GCT, is an “administrative” matter
within the authority of the Bureau. Id. Since the Bureau is charged with responsibility for
administering sentences, it is reasonable to conclude Congress entrusted the Bureau with the discretion
to calculate a sentence.

Il. § 3624 (b) Authorizes Credit Toward Service of Sentence for Satisfactory Behavior

Under Petitioner’s theory for awarding good conduct time, he would seek to have the Bureau

apply the credit based on the sentence imposed rather than the sentence served. This interpretation

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belies the very essence of the statute, which is to provide an incentive for inmates to comply with
prison rules and regulations as well the plain language requiring award of the credit after service of
each year of the term of imprisonment. Up to 54 days of good conduct credit may be awarded “at the
end of each year of the prisoner’s term of imprisonment, beginning at the end of the first year of the
term,” provided the “prisoner has displayed exemplary compliance with institutional regulations.” 18
U.S.C. § 3624 (b). For those individuals sentenced prior to enactment of the Prison Litigation Reform
Act, the Bureau has 15 days from the end of each year of imprisonment to award the good conduct time
which, the Petitioner’s case, vests immediately. Once vested, it cannot be taken away. A review of the
Sentence Monitoring Good Time Data reveals Petitioner has already been awarded and vested 378 days

of good conduct time. See Exhibit C.

III. Consistent With the Supreme Court’s Mandate, the Bureau’s Interpretation of §
3624(b) Should Be Considered to Be Correct Since it Has Been Expressly Adopted
by the Many Years of Implementation

Through this pleading, the Petitioner attempts to draw the court’s attention to the decision held

in White v. Scibana, 314 F. Supp. 2d 834 (W.D. Wis. 2004) (accepted for hearing on expedited appeal

 

before 7" Circuit). The court in Scibana held Congress’ intention was unambiguously expressed in the
statute and the Bureau is compelled to compute good conduct time based on the sentence imposed
rather than time served. The interpretation and application of the statute under Scibana, however, is
inconsistent with years of interpretation and calculation of good time by the Bureau. The language in a
statute must be read in conjunction with the entire statutory scheme. The Eleventh Circuit in Harris v.
Garner, recognized the starting point for all statutory interpretation is consideration of the language of

the statute itself. Harris v. Garner, 216 F.3d 970 (11th Cir. 2000) (en banc). Recently, the Eleventh

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Circuit articulated the appropriate method for analyzing issues arising from issues of statutory

interpretation.

In Robinson v. Shell Oil, 519 U.S. 337, 117 S.Ct. 843, 136 L.Ed.2d 808 (1997), the Supreme
Court articulated a two-step analysis to be followed by courts facing questions of statutory
interpretation [which is equally applicable in this circumstance]. First, courts must look to
"the [statutory] language itself, the specific context in which that language is used, and
the broader context of the statute as a whole" to "determine whether the language at
issue has a plain and unambiguous meaning with regard to the particular dispute in the
case." /d. at 340, 117 S.Ct. 843. If the language is "unambiguous" and "the statutory scheme is
coherent and consistent," the inquiry ends there. Jd. (quoting United States v. Ron Pair Enter.
Inc., 489 U.S. 235, 240, 109 S.Ct. 1026, 103 L.Ed.2d 290 (1989)). If an ambiguity is
identified, however, courts must look to "(t]he broader context provided by other sections
of the statute" to resolve it. Robinson, 519 U.S. at 345, 117 S.Ct. 843. As the Robinson Court
demonstrated, this step requires courts to (1) identify the broader goals of the statute as a whole,
(2) determine how the proposed alternative readings of the statute would comport with those
goals, and (3) resolve the case in favor of the reading that best helps to realize the goals of the
statute.

E.E.O.C. v. Total System Services, Inc., 240 F.3d 899, 900 (11" Cir. 2001).

It is not enough to say “term of imprisonment” means sentence imposed and require the Bureau
of Prisons to change it’s methodology without considering the feasibility of this interpretation in light
of the rest of the statute. The statute simply cannot be read to require the award of GCT in the manner
suggested by the Petitioner due to the statutory mandate the award be made annually and that the award

not exceed 54 days. It is not possible to comply with the statute's maxims if the court requires the

 

Bureau to reward the inmate for satisfactory behavior based upon the length of the sentence imposed

rather than the time spent actually behaving satisfactorily while in custody-

 

> The reason for this is simple. If, for example, the court finds an inmate serving ten years must
receive 540 days (54 x 10 = 540) of good conduct time, that time still needs to be awarded with mandates
of the statute. Under the theory proposed in the Scibana case, an inmate sentenced to 10 years (3650
plus 2 days for 2 leap years = 3652 days) imprisonment, should expect to serve 3112 days (3652 - 540 =
3112) or roughly 8.5 years. Thus, if the Bureau complies with the mandate to award up to 54 days

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The Bureau is only given statutory authority to award up to 54 days toward completion of an
inmate’s sentence and this award may only be made annually. These statutory mandates are
undisputed and clear. Even if the Bureau were to calculate a “‘year” by taking the number of days
awarded for good conduct the preceding year and adding to that the number of days necessary to equal
365 days, there is still insufficient time; that is, there are not enough annual periods to make awards
totaling 540 days if a 10 year sentenced was imposed. As indicated above, under Scibana, the court
would have an inmate eligible to earn 540 days for satisfactory behavior. One method of calculation
which has been proposed is to have the inmate serve a complete year (365 days) before being eligible
for the initial award of credit of up to 54 days, then each subsequent year the inmate is eligible to earn
up to 54 days.° This proposed methodology falls short of the anticipated 540 days of good conduct
time contemplated under the theory adopted in Scibana. Again, the Bureau would have to violate the
statutory mandate to award the credit annually, or violate the statutory mandate to award no more than
54 days at the end of each year. The only way the Bureau could effectuate the court’s requirement the

inmate be eligible to receive up to 540 days of good conduct time on an imposed sentence of 10 years

 

annually, at most, the petitioner would be eligible to earn 8 awards (due to 8 years in custody) of 54 days
(432), and one prorated award for a partial year (54/2 = 26 days). Thus, the petitioner could only be
awarded roughly 458 days. In order to award the 540 days, the Bureau would have to either award more
days than authorized by the statute or make the award more often than authorized by statute.

® The subsequent awards would not be made on a calendar anniversary date as is currently
utilized by the Bureau, but instead would require the Bureau to calculate the “end of each year” by taking
the amount of good time awarded for satisfactory behavior the preceding year and calculating the number
of days that would have to be served to result in satisfaction of an actual year of the sentence. So, if after
the first year the inmate was awarded 54 days of good conduct time, he would only have to serve 311
days to be considered for the second annual award of good time. Assuming the inmate sentenced to a
10-year-term maintained good conduct throughout his incarceration resulting in annual awards of 54 days,
his sentence would be satisfied by his actually serving 3166 days and earning 486 days of good conduct
time (3166 + 486 = 3652).

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would be to award additional good conduct credit each year or to award credit more than annually
(regardless of how you calculate completion of a year). And in doing so, the Bureau would be

inconsistent with the clear mandate of the statute.

Statutory construction cannot take place in a vacuum. “Congress entrusts to the [Director],
rather than the courts, the primary responsibility for interpreting the statutory term. In exercising that
responsibility, the [Director] adopts regulations with legislative effect. A reviewing court is not free to
set aside those regulations simply because it would have interpreted the statute in a different manner.”
Batterton v. Francis, 432 U.S. 416, 425 (1977) (relying on American Telephone & Telegraph Co. v.
United States, 299 U.S. 232, 235-237 (1936). The Supreme Court in Batterson went on to say
“[vjarying degrees of deference are accorded to administrative interpretations, based on such factors as

the timing and consistency of the agency’s position, and the nature of its expertise.” Id. at 425.

The facts of this case are particularly illustrative of the inapplicability of adopting a mechanism
for awarding credit under 18 U.S.C. § 3624(b). Here, the Petitioner is serving two concurrent
sentences of 60 months and 108 months. Under the theory proposed which would award good conduct
time based upon the sentences imposed, then he should receive up to 54 days toward each sentence
which was imposed. This would require the Bureau to administratively calculate the sentences
separately rather than as provided by Congress. As part of the SRA, Congress adopted provisions for
addressing multiple terms of imprisonment, which is codified as 18 U.S.C. § 3584(c). Pub. L. 98-473,
Title II, § 212(a) (1984). This provision states in pertinent part: “Multiple terms of imprisonment
ordered to run consecutively or concurrently shall be treated for administrative purposes as a single,

aggregate term of imprisonment.” 18 U.S.C. § 3584(c). This section of the SRA seems to contravene

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the court’s finding in White v. Scibana, supra, that Congress’ “unambiguous intent [through the SRA]
was to define the phrase ‘term of imprisonment’ to mean ‘sentence imposed’.” If the meaning
subscribed to the phrase ‘term of imprisonment’ is as that court suggests is applied to the provision of
the SRA codified at 18 U.S.C. § 3584(a), it would seem to authorize an administrative conversion of
multiple terms of imprisonment to imposition of a single sentence which is contrary to established
criminal and judicial procedures. Cf. 18 U.S.C. § 3553 (‘‘court shall impose a sentence”); Fed. R.
Crim. Pro, Rule 11 (Judge is sole sentencing authority and can reject plea agreements). A more
consistent interpretation of these statutes would suggest Congress recognized the utility in
administering multiple terms of imprisonment as one whenever possible. 18 U.S.C. § 3584(c). As
such, the execution or administration of the sentence relates not to the sentence(s) as imposed, but
instead to the sentence as it is to be served. Thus, rather than having to independently calculate a
possible award of up to 54 days in GCT against the Petitioner’s 60-month and 108-month sentences as
imposed,’ he is eligible to earn up to 54 days a year as to the single, aggregate sentence the inmate is

serving and which the Bureau has calculated. (Ex. A).

When, like here, a regulatory scheme has been developed to further the implementation of a
statute and that statute has been subsequently amended by Congress on several occasions, any

“{s]ubsequent legislation declaring the intent of an earlier statute is entitled to great weight of statutory

 

’ Under the proposed method for calculating GCT, the Petitioner apparently alleges he should be
eligible to earn up to 756 days of good conduct time if computed based upon the sentence imposed ([5
years (60 mos) x 54 = 270] plus [9 years (108 mos.) x 54= 486 days] = 756). Despite having to
separately administer the sentences, under the proposed method as applied to the facts in this case, the
Petitioner would still only actually yield a reduction of no more than 486 days because his sentences were
entered on the same date.

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construction.” Red Lion Broadcasting Co., Inc. v. FCC, 395 U.S. 367, 380-381 (1969). Even more
significant is the Supreme Court’s recognition that “the construction of a statute by those charged with
its execution should be followed unless there are compelling indications that it is wrong, especially
when Congress has refused to alter the administrative construction.” Id. at 381 (footnote omitted).* In
that case, the Court provided a clear example of the different circumstances in which such deference is
appropriate and concluded that where there have been 30 years of consistent administrative
interpretation, coupled with a subsequent statutory amendment which did not interfere with the
interpretation, the agency interpretation could be presumed to be correct. Id. at 382. Therefore, when a
particular interpretation has been followed over a long period of time, great deference should be
afforded to the construction of the statute by those charged with its administration. U.S. v. Clark, 454

U.S. 555, 565 (1982).

Since it’s enactment in 1984, the provision codified in Title 18 U.S.C. § 3624 addressing the
provision of “Credit toward service of sentence for satisfactory behavior” have undergone several
revisions. None of these revisions adopted a formula basing the amount of credit an inmate is eligible
to earn based on the length of the sentence imposed; none required a determination or award at the
beginning of the sentence of the amount of credit which an inmate may be eligible to earn; and no
revision has called for inmates to only serve 85% of the sentence imposed. Quite the contrary, GCT
was intended to serve as a vehicle for rewarding inmates exhibiting appropriate behavior while

incarcerated and since its inception, Congress has restricted and expanded the eligibility criteria to earn

 

® Here, as in Red Lion Broadcasting Co., Inc., “Congress has not just kept its silence by refusing
to overturn the administrative construction, but has ratified it with positive legislation. Id. at 381-382.

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such credit. (Ex. E.. cf. Violent Crime Control and Law Enforcement Act of 1994, Pub. L. 103-
322 §20405 (4)(B), 108 Stat 1796 (Sept. 13,1994) (limiting award of good time to inmates “serving
a term of imprisonment of more than 1 year for a crime of violence”)), with (Ex. F, Omnibus
Consolidated Rescissions and Appropriations Act of 1996, P.L. 104-134, 110 Stat 1321 §
809(C)(1)(B) (ii), 1996 HR 3019 (Apr. 26, 1996) (striking eligibility requirement the inmate be

serving a sentence “for a crime of violence”)).

Congress first amended the provisions of 18 U.S.C. § 3624 in 1986. Though these changes
were minor, they clearly evidence Congressional intent to allow inmates to earn such credit while
incarcerated. Criminal Law and Procedure Technical Amendments Act of 1986, 1986 U.S.C.C.A.N.
6138, H.R. Rep. No. 99-797 (August 15, 1986) at *16 & 21. Specifically, Congress explained the
basis for changing the terms authorizing the Bureau to award credit ‘“‘at the end of” rather than “after”
the first year to “clarify that the good time credit can be earned for the first year of a term of
imprisonment.” Id. at § 14, *21. Once again Congress made minor changes, this time replacing
masculine pronouns with gender neutral nouns. P.L. 103-322, 1994 H.R. 3355, section 20405, *31-33,
(Sept. 13, 1994). Despite Congressional scrutiny of this provision, the Bureau’s method of awarding

good conduct time based upon time served was not disturbed.

Once again in 1996, Congress scrutinized the award of credit for satisfactory behavior while in
prison. Rather than limit the Bureau’s discretion or modify the method employed by the Bureau for
awarding such credit, Congress extended the time for this credit to vest until the date of the inmate’s
release and granted the Bureau even greater discretion by requiring the Bureau to consider an inmates

progress toward attaining a high school diploma or GED. Moreover, Congress recognized the

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Bureau’s decision to only grant credit to inmates for time spent actually serving their sentence as is
evidenced by the 1996 appropriations legislation in which Congress authorized “Truth-in-Sentencing
Incentive Grants” to states demonstrating in part that persons convicted of violent crimes “serve not
less that 85 percent of the maximum prison term allowed under the sentence imposed by the court (not
counting time not actually served such as administrative or statutory incentives for good behavior).
(Ex. F. P.L. 104-134, 110 Stat 1321 §20104(a)(3)(B), 1996, HR 3019 (Apr. 26, 1996)). While not
requiring states to adopt fully the Bureau’s implementation of the award of such credits, Congress itself
acknowledged the significance of only awarding such credit for time spent actually serving a sentence
and encouraged them to follow this example through making it a condition of eligibility for such

grants. Id. at P-L. 104-134 (codified at 42 U.S.C.A. § 13703).

“The one circumstance in which a court may properly look beyond the plain language of a
statute is where giving effect to the language used by Congress would lead to a truly absurd result.”
Glazner v. Glazner, 347 F.3d 1212, 1215 (11th Cir. 2003) (en banc). Assuming arguendo that a
difficult question has been presented with regard to the statutory interpretation of § 3624(b), the
legislative history with its several amendments support the Bureau’s interpretation and implementation
of the statute. Interpreting the statutory language to award good conduct credit toward completion of a
sentence based upon the sentence length imposed rather than based upon the time spent displaying
good conduct would seem to lead to an inconsistent or absurd result. The Bureau’s interpretation and
implementation of § 3624(b) through Program Statement 5528.28, Sentence Computation Manual
(CCCA of 1984), has remained virtually unchanged. Though in 1996 Congress required the Bureau to

also take into consideration educational attainment when awarding credit under this statute, the

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fundamental premise that the award be made based upon conduct/actions while in custody the

preceding year remains unchanged.

IV. The Bureau Awarded the Petitioner With the 54 days of Good Conduct Time Credits;

Therefore, His Claim is Moot

 

The Bureau has conducted a review of Petitioner’s GCT and found it to be properly computed
in accordance with Bureau policy and federal statutes. He has been considered for and awarded 54
days of GCT credit at the end of each year he has been in custody. (See Declaration of Mary Anne
Lawrence). Additionally, Bureau policies require he be considered annually for additional awards of

up to 54 days as well a prorated amount for any portion of a year served.

The Petitioner’s claim for 54 days of GCT is moot as he has already been awarded the credit
due him by the Bureau. See e.g. O’Neal v. United States, 399 F.2d 635 (Sth Cir. 1968).? Article ITI of
the Constitution limits the jurisdiction of the federal courts to the consideration of live "Cases" and

"Controversies." U.S. Const. Art. III, § 2; Powell v. McCormack, 395 U.S. 486, 496, 89 S.Ct. 1944,

1951, 23 L.Ed.2d 491 (1969); Al Najjar v. Ashcroft, 273 F.3d 1330, 1335 (11th Cir. 2001).

The "case or controversy" constraint imposes a "dual limitation" known as "justiciability"”
on federal courts. Id. (quoting United States v. Fla. Azalea Specialists, 19 F.3d 620, 621
(11th Cir.1994)). "The doctrine of justiciability prevents courts from encroaching on the
powers of the elected branches of government and guarantees that courts consider only
matters presented in an actual adversarial context." Id. (citing Socialist Workers Party v.
Leahy, 145 F.3d 1240, 1244 (11th Cir.1998) ("Because the judiciary is unelected and
unrepresentative, the Article III case-or-controversy limitation, as embodied in the
justiciability doctrine, presents an important restriction on the power of the federal courts.").

 

* Decisions of the Fifth Circuit rendered prior to the close of business on September 30, 1981,

are binding precedence in the Eleventh Circuit per Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th
Cir. 1981).

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De La Teja v. United States, 321 F.3d 1357, 1361 (11th Cir. 2003).

The question of mootness is jurisdictional and compels dismissal when there is no live case or
controversy for which the court can grant relief. Id.; see also North Carolina v. Rice, 404 U.S. 244,
246, 92 S.Ct. 402, 404, 30 L.Ed.2d 413 (1971). The petition is moot to the extent Petitioner seeks to
be considered for an award of 54 days of GCT annually for the time he has been incarcerated, as the

Bureau has already awarded the credit towards his present sentence. Exhibit C.

V. Rule of Lenity

Petitioner asserts the Bureau is not entitled to deference because the rule of lenity must be
applied when construing an ambiguous penal statute. “T]he rule of lenity applies only where there is
an ambiguity in the statute; it cannot be employed to override clear statutory language.” Glazner v.

Glazner, 330 F.3d 1298, 1304 (11" Cir. 2002) vacated in part on other grounds, 347 F.3d 1212 (11th

 

Cir. 2003). When determining the applicability of the rule of lenity, the court “must consider not just

”

language of sentencing regime, but also its ‘structure, legislative history and motivating policies. .. .’

United States v. Sloan, 97 F.3d 1378, 1382 (11th Cir. 1996), cert. denied, (citing Bifulco v. United

 

States, 447 U.S. 381 (1980)). The rule serves as an aid for resolving an ambiguity, not as a command
to “override common sense and evident statutory purpose.” U.S. v. Trout, 68 F.3d 1276, 1280 (11th

Cir. 1995), cert. denied, (citing U.S. v. Brame, 997 F.2d 1426, 1428 (11th Cir. 1993)).

The rule does not, however, prevent an agency from resolving statutory ambiguity through valid
regulation. Any ambiguity that may exist in section 3624, the Bureau has resolved through reasonable

interpretation, and the rule of lenity does not apply. Pacheco-Camacho v. Hood, 272 F.3d 1266, 1271

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(9th Cir. 2001), cert. denied. The rule is not a doctrine of first resort whenever a potential ambiguity in
a statute is identified by a defendant, and the rule “‘is not invoke[d] by a grammatical possibility.” U.S.
v. Maldonado-Ramirez, 216 F.3d 940, 943 (11th Cir. 2000), cert. denied, (citing Caron v. United
States, 524 U.S. 308, 316 (1998). It applies only when “‘the traditional canons of statutory
construction” fail to resolve the ambiguity. Id. at 943 (citing United States v. Shabani, 513 U.S. 10, 17

(1994)). Therefore, the rule of lenity is inapplicable in this circumstance.
VI. Petitioner Fails to State a Constitutional Claim

Petitioner contends that failure to award him the credit he seeks violates his rights under the
Due Process clause of the Fifth Amendment of the Constitution. The Due Process clause itself does
not guarantee GCT credits for satisfactory behavior while in prison. U.S.C.A. Const. Amend. 14. See
also, Wolff v. McDonnell, 418 U.S. 539 (1974). Nor, as Petitioner intimates, does 18 U.S.C. §
3624(b) contain mandatory language which bestows a liberty interest in an award of credit, as under
the statue, the award of credit is left to the discretion of the Bureau. As a result of Sandin v. Connor,
515 U.S. 472 (1995), courts no longer scrutinize the language of the statute or regulation in search of
“mandatory” language which dilutes official discretion; instead, Sandin teaches a prisoner’s liberty
interest which requires due process procedures prior to infringement by government officials is created
only if the government activity “imposes atypical and significant hardship on the inmate in relation to
the ordinary incidents of prison life.” Id. The computation of a prisoner’s sentence and application of
GCT credits are administrative matters within the discretion of the Bureau. See generally, U.S. v.

Wilson, 503 U.S. 329 (1992); and U.S. v. Hedges, 458 F.2d 188 (10th Cir. 1972). The Bureau’s

 

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Case 1:04-cv-21538-JAL Document 13 Entered on FLSD Docket 08/23/2004 Page 24 of 44

exercise of its discretion in these matters imposes neither an atypical nor significant hardship in

relation to the ordinary incidents of prison life.

So far, Petitioner has received 54 days of GCT for each year served from December 20, 1990,
through December 19, 2003. Petitioner may earn for each full year served in excess of one year 54

days of GCT, with the GCT being prorated for the last partial year.
CONCLUSION

Petitioner’s GCT and prior custody credits have been properly computed in accordance with
Bureau policies and federal statutes, and he has received all the GCT time due him. Under 18 U.S.C. §
3624(b), to be eligible for up to 54 days of GCT, a prisoner must: (1) be serving a term of
imprisonment of more than a year, other than a life sentence; and (2) actually comply with discipline
regulations while serving an entire year of the term of imprisonment before being credited with the
time. The regulations promulgated by the Bureau are within its authority and are reasonably

interpreted and construed consistent with Title 18 U.S.C. § 3624(b) and Title 18 U.S.C. § 3585(b).

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Wherefore, based on the analysis contained herein, it is requested the petition be denied on the

grounds that Petitioner is not entitled to any additional GCT credit or prior custody credit, and/or

dismissed for failure to state a constitutional claim as the regulation promulgated by the Bureau is a

reasonable implementation of the statute.

Respectfully Submitted,

MARCOS DANIEL JIMENEZ
UNITED STATES ATTORNEY

STEVEN R. PETRI

Assistant United States Attorney
Federal Bar No. AS50048

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Fax: 954-356-7180

 

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Case 1:04-cv-21538-JAL Document 13 Entered on FLSD Docket 08/23/2004 Page 26 of 44

LIST OF EXHIBITS
A. SENTRY Public Information Data
B. SENTRY Administrative Remedy Data
C. SENTRY Good Conduct Time Data

D. Program Statement 5580.28, Sentence Computation Manual (CCCA of 1984), at 1-40, 1-

41.

E. Violent Crime Control and Law Enforcement Act of 1994, Pub. L. 103-322 § 20405

(4)(B), 108 Stat 1796 (Sept. 13,1994)

F. Omnibus Consolidated Rescissions and Appropriations Act of 1996, P.L. 104-134, 110

Stat 1321 § 809(C)(1)(B)(ii), 1996 HR 3019 (Apr. 26, 1996)

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Case 1:04-cv-21538-JAL Document 13 Entered on FLSD Docket 08/23/2004 Page 27 of 44

CERTIFICATE OF SERVICE

I hereby certify that on this LUch of August, 2004, a true and correct copy of the foregoing

was mailed postage prepaid to:

Mitchell Hammer
Reg. No. 48828-004
Federal Prison Camp
P.O. Box 779800
Miami, Florida 33177

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STEVEN R. PETRI
Assistant United States Attorney

 

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Aug 2Case 1:043921538-JMsoDoGhidRI3 Entered on FLSDERRKEr dsS3>b04 Page 28 of 44

TAJ.SH * PUBLTC INFORMATION * 08-06-2004
PAGE O01 * INMATE DATA * 11:46:31
AS OF O0f-06-2004
REGNO..: 48828-004 NAME: HAMMER, MITCHELL
RESP OF: MIA / DESIGNATED, AT ASSIGNED FACIL
PHONE..: 305-259-2100 FTS: 305-259-2160
RACE/SEX...: WHITE / MALE
FBI NUMBER.: 764286EB4 DOB/AGE....: 06-19-1952 / 52
PROJ REL MT: GOOD CONDUCT TIME RELEASE PAR BLIG DT: N/A
PROJ REL DT: 05-01-2005 PAR HEAR DT:
Totter ter ts tse ADMIT/RELEASE HISTORY -------~--7- 77-33-3733
FCL ASSIGNMENT DESCRIPTION START DATE/TIME STOP DATE/TIME
MIA A-DES DESIGNATED, AT ASSIGNED FACIL 05-16-2004 2219 CURRENT
MIA FURL TIES FURLOUGH-FAMILY TIES 05-12-2004 0847 OS-16-2004 2219
MIA A-DES DESIGNATED, AT ASSIGNED FACIL 01-02-2004 2249 05-12-2004 0847
MIA FURL TIES FURLOUGH-FAMILY TIES 12-31~2003 0817 01-02-2004 2249
MIA A-DES DESIGNATED, AT ASSIGNED FACIL 07-02-2003 2247 12-31-2003 0817
MIA FURL TIES FURLOUGH-FAMILY TIES 07-02-2003 0844 07-02-2003 2247
MIA A-DES DESIGNATED, AT ASSIGNED FACIL 01-13-2003 1042 07-02-2003 0844
MIA LOCAL HOSP ESC TRIP TO LOCAL HOSP W/RETN 01-13-2003 0701 01-13-2003 1042
MIA A~-DES DESIGNATED, AT ASSIGNED FACIL 04-26-2000 1522 01-13-2003 0701
MIA LOCAL HOSP ESC TRIP TO LOCAL HOSP W/RETN 04-25-2000 1346 04-26-2000 1522
MIA A-DES DESIGNATED, AT ASSIGNED FACIL 06-19-1998 2301 04-25-2000 1346
MIA FURL MED E FURT.OUGH-MEDILCAL EMERGENCY 06-19-1998 0636 06-19-1998 2301
MIA A-DES DESIGNATED, AT ASSIGNED FACIL 06-30-1997 1033 06-19-1998 0636
6-U RELEASE RELEASED FROM IN-TRANSIT FACL 06-30-1997 1033 06-30-1997 1033
6-U A-ADMIT ADMITTED TO AN IN-TRANSIT FACL 04-02-1997 1156 06-30-1997 1033
CMM ADMIN REL ADMINISTRATIVE RELEASE 04-02-1997 1156 04-02-1997 1156
CMM A-ADMIN ADMINISTRATIVE ANMTSSION 04-02-1997 1154 04-02-1997 1156
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Aug 2WaBt 1:043921538-PasMoShidRs3 Entered on FLSD BURKEd8/83/b804 Page 29 df'44

TALSH * PUBLIC INFORMATION * 08-06-2004
PAGE 002 * INMATE DATA * 11:46:31
AS OF 08-06-2004

REGNO..: 48828-004 NAME: HAMMER, MITCHELL
RESP OF: MIA / DESIGNATED, AT ASSIGNED FACIL
PHONE..: 305~259~2100 FTS: 305-259-2160
PRE-RELEASE PREPARATION DATE: 11-01-2004

THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT .
THE {NMATE IS PROJECTED FOR RELEASE: 05-01-2005 VIA GCT REL

== 5-6 ----------------- CURRENT JUDGMENT/WARRANT NO: 010 -~--~---------~----------~-

COURT OF JURISDICTION...........: FLORIDA, SOUTHERN NISTRICT
DOCKET NUMBER... . 2... ee eee : 95-367-CR-FERGUSON
JUDGE... 2. ee ee ee eee ee ee ee et) FERGUSON
DATE SENTENCED/PROBATION IMPOSED: 02-28-1997
DATE COMMITTED.........-........: 06-30-1997
HOW COMMITTED. .........------0005 : US DISTRICT COURT COMMITMENT
PROBATION IMPOSED..........+....: NO
FELONY ASSESS MISDMNR ASSESS FINES COSTS
NON-COMMITTED. : $150.00 $00.00 $00.00 $00.00
RESTILTUTION...: PROPERTY: NO SERVICES: NO AMOUNT: $250,000.00

W--~---~----------------- CURRENT OBLIGATION NO: 010 ~-~~-~~--~~---~--~--~-------~
OFFENSE CODE....: 153
OFF/CHG: CONSP TO COMMIT BANK & SFCURTTIES FRAUD;MAKING FALSE STATEMENT

IN A BANKRUPTCY PROCEEDING. 18 USC 371 & 152 - CTS 1 & 83

SENTENCE PROCEDURE...........-..:i 3559 SRA SENTENCE
SENTENCE IMPOSED/TIME TO SERVE. : 60 MONTHS

TERM OF SUPERVISION..........-.. : 3 YEARS

DATE OF OFFENSE........-..-.++- : 05-18-1993

~o +e een na -------------- CURRENT OBLIGATION NO; 020 ---~~--~---~----~-~----------

OFFENSE CODE....: 548

OFF/CHG: MONEY LAUNDERING - 18 USC 1956 - CT 71
SENTENCE PROCEDURE.............: 3559 SRA SENTENCE
SENTENCE IMPOSED/TIME TO SERVE.: 108 MONTHS

TERM OF SUPERVISTON........6...6: 3 YEARS
DATE OF OFFFNSE....--.-.....-+.: Q6-26-1992

GO0O002 MORE PAGES TO FOLLOW
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TALSH *
PAGE 003 OF 003 *

PUBLIC INFORMATION *

08-06-2004

INMATE DATA * 11:46:31

AS OF 08-06-2004

REGNO..: 48828-004 NAME: HAMMER,
RESP OF:

PHONE..:

wo nen enna n -- H+ --- CURRENT COMPUTATION NO:

MIA / DESIGNATED,
305-259-2100

MITCHELL

AT ASSIGNED FACIL

FTS: 305-259-2160

COMPUTATION 010 WAS LAST UPDATED ON 07-21-1997 AT MIA AUTOMATICALLY

THE FOLLOWING JUDGMENTS,
CURRENT COMPUTATION 010: O10 O10,
DATE COMPUTATION BEGAN..........:
AGGREGATED SENTENCE PROCEDURE...:
TOTAI, TERM IN EFFECT. ...........:
TOTAL TERM IN EFFECT CONVERTED... :
AGGREGATED TERM OF SUPERVISION..:
EARLIEST DATE OF OFFENSE........:

JAIL CREDIT... .......-.0-6.2.-2-4:

TOTAL
TOTAL

PRIOR CREDIT TIME......... :
INOPERATIVE TIME..........:
TOTAL GCT EARNED AND PROJECTED..:
TOTAL GC'r EARNED....-..........043
STATUTORY RELEASE DATE PROJECTED:
SIX MONTH /10% DATE.....-......-:
EXPIRATION FULL TERM DATE....... :

PROJECTED SATISFACTION DATE..... :
PROJECTED SATISFACTION METHOD...:

$0055

NO PRIOR SENTENCE DATA EXISTS FOR THIS

WARRANTS AND OBLIGATIONS ARE INCLUDED IN

010 020

06-30-1997
AGGREGATE GROUP 800
108 MONTHS
9 YEARS
3 YEARS
06-26 1992

FROM DATE THRU DATE
Q6-O01-1995 06-01-1995

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05-01-2005

N/A

06-28-2006

05-01-2005
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INMATE
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Aug 20 a@é 1104-.2621538-JAtS DoGiiad#13 Entered on FLSD Bucket 08/23/2004 Page 31 of 44

TALSH *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL * 08-06-2004
PAGE 002 OF * FULL SCREEN FORMAT * 11:48:04

REGNO: 48828-004 NAME: HAMMER, MITCHELL

RSP OF...: MIA UNT/LOC/DST: CAMP J OTR.: JO1L-O02L RCV OFC: MIA
REMEDY ID: 230924-F1 SUB1: 18AC SUB2: DATE RCV: 01-17-2001

ONT RCV..: CAMP J OTR RCV.: JO1-002L FACL RCV: MIA

UNT ORG..: CAMP J OTR ORG.: J01-002L FACL ORG: MIA

EVT FACL.: MIA ACC LEV: MIA 1 RESP DUE: TUE 02-06-2001

ABSTRACT.: REQUESTS ADDITION TO VISITING LIST.

STATUS DT: 02-01-2001 STATUS CODE: CLD STATUS REASON: DNY
INCRPTNO. : RCT: P EXT: DATE ENTD: 01-18-2001
REMARKS .. :

REGNO: 48828-004 NAME: HAMMER, MITCHELL

RSP OF...: MIA UNT/LOC/DST: CAMP J QOTR.: J01-002L RCV OFC: MIA
REMEDY ID: 270380-F1 SUB1: 35AM SUB2: DATE RCV: 06-14-2002

UNT RCV..: CAMP J QTR RCV.: JO1~-0021 FACL RCV: MIA

UNT ORG..: CAMP J QTR ORG.: J01-002L FACL ORG: MIA

EVT FACL.: MIA ACC LEV: MIA 1 SER 1 BOP 1 RESP DUE: THU 07-04-2002

ABSTRACT.: REQUEST FOR MEDICAL TREATMENT
STATUS DT: 07-08-2002 STATUS CODE: CLG STATUS REASON: PAR

INCRPTNO.: RCT: P EXT: DATE ENTD: 06-14-2002
REMARKS. .:
GO002 MORE PAGES TO FOLLOW

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TALSH *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL * 08-06-2004
PAGF 003 OF O03 * FULL SCREEN FORMAT * 11:48:04

REGNO: 48828-004 NAME: HAMMER, MITCHELL

RSP OF...: MIA UNT/LOC/DST: CAMP J OTR.: J01-002L RCV OFC: SER
REMEDY ID: 270380-R1 SUB1: 35AM SUB2: DATE RCV: 08-05-2002

UNT RCV..: CAMP J OTR RCV.: J01-002L FACL RCV: MIA

UNT ORG..: CAMP J OTR ORG.: J01-002L FACL ORG: MIA

EVT TFACL.: MIA ACC LEV: MIA 1 SER 1 BOP 1 RESP DUE: FRI 10-04-2002

ABSTRACT.: LIVER ENZYMES NOT CHECKED IN 5 YRS/BACK PAIN
STATUS DT: 10-15-2002 STATUS CODE: CLO STATUS REASON: XPL
INCRPTNO.: RCT: P EXT: P DATE ENTD: 08-05-2002
REMARKS..:

REGNO: 48828-004 NAME: HAMMER, MITCHELL

RSP OF...: MIA UNT/LOC/DST: CAMP J QOTR.: 701-002L RCV OFC: BOP
REMEDY ID: 270380-Al SUB1: 26AM SUB2: DATE RCV: 11-13-2002

UNT RCV..: CAMP J QTR RCV.: J01-002T. FACL RCV: MIA

UNT ORG..: CAMP J QTR ORG.: JO1-O0021, FACL ORG: MIA

EVT FACL.: MIA ACC LEV: MIA 1 SER 1 BOP 1 RESP DUE: SUN 01-12-2003

ABSTRACT.: LIVER ENZYMES NOT CHECKED IN 5S YRS/BACK PAIN
STATUS DT: 12-20-2002 STATUS CODE: CLD STATUS REASON: DNY
INCRPTNO.: RCT: P EXT: P DATE ENTD: 11-13-2002
REMARKS..:

4 REMEDY SUBMISSTION(S) SELECTED
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PAGE 001 OF OO1 * GOOD TIME DATA * 11:46:51

AS OF 08-06-2004

REGNO...: 48828~-004 NAME: HAMMER. MTTCHELL

ARS 1...: MIA A-DES SRA

COMPUTATION NUMBER..: 010 FUNC..: PRT ACT DT

LAST UPDATED: DATE.: O7-21-1997 FACL..: MIA CALC: AUTOMATIC

UONIT.......--2..2...-0: CAMP J QUARTERS............: J901-002L

DATE COMP BEGINS....: 06-30-1997 COMP STATUS.........: COMPLETE

TOTAL JAIL CREDIT...: 1 TOTAL INOP TIME..... : 0

CURRENT REL DT...... > 06-15-2005 WED EXPIRES FULL TERM PT: 06-28-2006

PROJ SATISFACT DT...: 05-01-2005 SUN PROJ SATISE METHOD..: GCT REL

ACTUAL SATISFACT DT.: ACTUAL SATISF METHOD:

DAYS REMAINING......: FINAL PUBLC LAW DAYS:

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06-29-2004 05-01-2005 45

TOTAL EARNED AMOUNT... .. 2... ..0 0.6 pee et ee ee eee 378

TOTAL BARNED AND PROJECTED AMOUNT... 2... eee ee ee ee ee 423

CONTINUE PROCESSING IF DESIRED

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U.S. Department of Justice
Federal Bureau of Prisons

 

OPI: CPD

Program MBER! 2900-20
Statement

Manual (CCA of 1984)

 

1. PURPOSE AND SCOPE. This Program Statement transmits the
"Sentence Computation Manual" which establishes the policies and
procedures for the computation of sentences imposed for
violations of the United States Code under the statutes of the
Comprehensive Crime Control Act of 1984 (CCCA).

On October 12, 1984, President Reagan signed the Comprehensive
Crime Control Act of 1984 (CCCA) into law. Two major components
of this law, the Sentencing Reform Act of 1984 (SRA) and the
Insanity Reform Act of 1984, completely restructured the
sentencing guidelines and policies of the United States Courts.

After the effective date of the SRA on November 1, 1987, a number
of United States Court decisions found all or parts of the SRA
unconstitutional. As a result, the SRA was implemented
nationally in various ways.

On January 18, 1989, in Mistretta v. U.S., the Supreme Court
conSidered the constitutionality of the sentencing guidelines and
tuled that the guidelines were constitutional. This Manual

provides instructions for computing sentences imposed under the
CCCA both before and after the Mistretta decision.

2. DIRECTIVES AFFECTED
aA. Directives Rescinded. None.

h. Directives Referenced. None.

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P.S. 5880.28
February 21, 1992
Page 1 - 40

9- Good Conduct Time. Subsection 3624(b) states, "(b)
Credit toward service of Sentence for satisfactory behavior. -- A
prisoner who is serving a term of imprisonment of more than one
year, other than a term of imprisonment for the duration of his
life, shall receive credit toward the service of his sentence,
beyond the time served, of fifty-four days at the end of each
year of his term of imprisonment, beginning at the end of the
first year of the term, unless the Bureau of Prisons determines
that, during that year, he has not Satisfactorily complied with
such institutional disciplinary regulations as have been approved
by the Azttorney General and issued to the prisoner. If the
Bureau determines that during that year, the Prisoner has not
satisfactorily complied with such institutional regulations, he
Shall receive no such credit toward service of his sentence or
shall receive such lesser credit as the Bureau determines to be
appropriate. The Bureau's determination shall be made within
fifteen days after the end of each year of the sentence. Such
credit toward service of sentence vests at the time it is
received. Credit that has been vested may not later be
withdrawn, and credit that has not been earned may not later be
granted. Credit for the last year or portion of a year of the
term of imprisonment shall be prorated and credited within the
last six weeks of the sentence. "

For computation purposes, it is necessary koa
remnember the following about subsection 3624 (b):

(1) 54 days of GCT may be earned for each full
year served om a sentence in excess of one year, with the GcT
being
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7 PS 5880.28

(CN-03) February 14, 1997
Page 1 - 41

prorated for the iast partial year. No GCT can be earned on, or
awarded to, a sentence of one year or less.

(2) The BOP has 15 days after the end of
each full year served to make a determination as to the amount of
the 54 days that shall be awarded. If the BOP makes no decision
about the amount of GCT to award in the 15 days at the end of the
year just served, then the entire 54 days will be automatically
credited to the sentence on the Vested Date. Therefore, before
awarding any GCT on the Vested Date, staff shall review the
SENTRY disciplinary log to determine if any GCT had been
disallowed during the preceding anniversary period. If no GCT
was disallowed during the preceding anniversary period, then the
GCT SENTRY data base shall be updated with the total amount of
GCT possible to earn and a copy of the disciplinary log, as well

* as a copy of the GCT record (both signed and dated by the ISM
staff member making the change and the auditor), shall be placed
in the Judgment and Commitment File.

*

If some or all of the GCT had been
disallowed during the preceding anniversary peried and no BP-448
{Good Conduct Time Action Notice) has been received by the Vested
Date that matches the disciplinary log record, then the
disciplinary log shall be used as the official record for
disallowing GCT on the Vested Date. A copy of the disciplinary
log shall be placed in the Judgment and Commitment File pending
receipt of a BP-448 that matches the information on the
disciplinary log. After receipt of the BP-448 the disciplinary
log copy shall be destroyed. Again, an updated copy of the
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PL 103-322, 1994 HR 3355 — Page 1 of 1

PL 103-322, September 13, 1994, 108 Stat 1796

UNITED STATES PUBLIC LAWS
103rd Congress - Second Session
Convening January 25, 1994
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Additions and Deletions are not identified in this document.

For Legislative History of Act, see LH database or Report for

this Public Law in U.S.C.C. & A.N. Legislative History section.
PL 103-322 (HR 3355)

September 13, 1994
VIOLENT CRIME CONTROL ANO LAW ENFORCEMENT ACT OF 1994

An Act to control and prevent crime.

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PL 103-322, 1994 HR 335.__ Page 1 of |

<< 18 USCA § 4042 NOTE >>
SEC. 20404. APPLICATION TO PRISONERS TO WHICH PRIOR LAW APPLIES.

In the case of a prisoner convicted of an offense committed prior to November 1, 1987, the
reference to supervised release in section 4042(b) of title 18, United States Code, shall be deemed
to be a reference to probation or parole.

<< 18 USCA § 3624 >>
SEC. 20405. CREDITING OF "GOOD TIME".

Section 3624 of title 18, United States Code, is amended--

(1) by striking "he" each place it appears and inserting “the prisoner”;

(2) by striking "his" each place it appears and inserting "the prisoner's";

(3) in subsection (d) by striking "him" and inserting "the prisoner"; and

(4) in subsection (b)--

(A) in the first sentence by inserting "(other than a prisoner serving a sentence for a crime of
violence)" after "A prisoner"; and

(B) by inserting after the first sentence the following: "A prisoner who is serving a term of
imprisonment of more than 1 year for a crime of violence, other than a term of imprisonment for the
duration of the prisoner's life, may receive credit toward the service of the prisoner's <<PUB
#PG=1000457,1826>>sentence, beyond the time served, of up to 54 days at the end of each year
of the prisoner's term of imprisonment, beginning at the end of the first year of the term, subject to
determination by the Bureau of Prisons that, during that year, the prisoner has displayed exemplary
compliance with such institutional disciplinary regulations.".

"te

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PL 104-134, 1996 HR 301° Page lof |

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SEC. 809. EARNED RELEASE CREDIT OR GOOD TIME CREDIT REVOCATION.
<< 28 USCA § 1932 >>

(a) IN GENERAL. --Chapter 123 of title 28, United States Code, is amended by adding at the end the
following new section:

"§ 3932. Revocation of earned release credit

"In any civil action brought by an adult convicted of a crime and confined in a Federal correctional
facility, the court may order the revocation of such earned good time credit under section 3624(b)
of title 18, United States Code, that has not yet vested, if, on its own motion or the motion of any
party, the court finds that--

"(1) the claim was filed for a malicious purpose;

"(2) the claim was filed solely to harass the party against which it was filed; or

"(3) the claimant testifies falsely or otherwise knowingly presents false evidence or information to
the court.”.

<< 28 USCA Ch. 123 >>

{b) TECHNICAL AMENOMENT.--The analysis for chapter 123 of title 28, United States Code, is
amended by inserting after the item relating to section 1931 the following:
"1932. Revocation of earned release credit.".

<< 1B USCA § 3624 >>

(c) AMENOMENT OF SECTION 3624 OF TITLE 18.--Section 3624(b) of title 18, United States Code,
is amended--

(1) in paragraph (1)-- .

(A) by striking the first sentence;

(B) in the second santence--

(i) by striking "A prisoner" and inserting “Subject to paragraph (2), a prisoner";

(ii) by striking "for a crime of violence,"; and

(ii) by striking "such";

(C) in the third sentence, by striking “If the Bureau" and inserting "Subject to paragraph (2), if the
Bureau";

(D) by striking the fourth sentence and Inserting the following: "In awarding credit under this
section, the Bureau shall consider whether the prisoner, during the relevant period, has earned, or is
making satisfactory progress toward earning, a high school diploma or an equivalent degree."; and
(E) in the sixth sentence, by striking "Credit for the last" and inserting “Subject to paragraph (2),
credit for the last"; and

(2) by amending paragraph (2) to read as follows:

“(2) Notwithstanding any other law, credit awarded under this subsection after the date of
enactment of the Prison Litigation Reform Act shall vest on the date the prisoner is released from
custody.”.

<< 18 USCA § 3626 NOTE >>
<< 11 USCA § 523 nt >>
<< 18 USCA § 3624 nt >>
<< 28 USCA §§ 1346 nt, 1915 nt, 1915A nt, 1932 nt >>

<< 42 USCA §§ 1997a nt, 1997b nt, 1997c nt, 1997e nt, 1997F nt, 1997h nt >>

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PL 104-134, 1996 HR 301° Page | of 2

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Pi. 104-134, April 26, 1996, 110 Stat 1371

UNITED STATES PUBLIC LAWS
104th Congress - Second Session
Convening January 3, 1996
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Additions and Deletions are not identified in this document.

PL 104-134 (HR 3019)
April 26, 1996
OMNIBUS CONSOLIDATED RESCISSIONS AND APPROPRIATIONS ACT OF 1996

An Act making appropriations for fiscal year 1996 to make a further downpayment toward a
balanced budget, and for other purposes.

Be it enacted by the Senate and House of Representatives of the United States
of America in Congress assembled,

(This Act is displayed from the hand enrolled bill as received by the Publisher which did not specify
the U.S. Statutes-At-Large internal pagination.]
SECTION 101. For programs, projects or activities in the Departments of Commerce, Justice, and
State, the Judiciary, and Related Agencies Appropriations Act, 1996, provided as follows, to be
effective as if it had been enacted tnto law as the regular appropriations Act:
AN ACT
Making appropriations for the Departments of Commerce, Justice, and State, the Judiciary, and
related agencies for the fiscal year ending September 30, 1996, and for other purposes.
TITLE I[--GEPARTMENT OF JUSTICE
GENERAL ADMINISTRATION
SALARIES AND EXPENSES
For expenses necessary for the administration of the Department of Justice, $74,282,000; including
not to exceed $3,317,000 for the Facilities Program 2000, and including $5,000,000 for
management and oversight of Immigration and Naturalization Service activities, bath sums to
remain available until expended: Provided, That not to exceed 48 permanent positions and 55 full-
time equivalent workyears and $7,477,000 shall be expended for the Department Leadership
Program, exclusive of augmentation that occurred in these offices in fiscal year 1995: Provided
further, That not to exceed 76 permanent positions and 90 full-time equivalent workyears and
$9,487,000 shall be expended for the Offices of Legislative Affairs, Public Affairs and Policy
Development: Provided further, That the latter three aforementioned offices shall not be augmented
by personne! details, ternporary transfers of personnel on either a reimbursable or non-reimbursabie
basis or any other type of formal or informal transfer or reimbursement of personnel or funds on
aither a temporary or long-term basis.
< <PUB#PG =1000457,1321-1>>COUNTERTERRORISM FUND
For necessary expenses, as determined by the Attorney General, $16,898,000, to remain available
until expended, to reimburse any Oepartment of Justice organization for (1) the custs incurred in
reestablishing the operational capability of an office or facility which has been damaged or destroyed
aS a result of the bombing of the Alfred P. Murrah Federal Building in Oklahoma City or any domestic
or international terrorist incident, (2) the costs of providing support to counter, investigate or
prosecute domestic or international terrorism, including payment of rewards in connection with these
activities, and (3) the casts of conducting a terrorism threat assessment of Federal agencies and
their facilities: Provided, That funds provided under this section shall be available only after the
Attorney General notifies the Committees on Appropriations of the House of Representatives and the
Senate in accoidance with section 605 of this Act.
ADMINISTRATIVE REVIEW AND APPEALS
For expenses necessary for the administration of pardon and clemency petitions anu immigration
related activities, $38,886,000: Provided, That the obligated and unobligated balances of funds
previously appropriated to the General Administration, Salaries and Expenses appropriation for the

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PL 104-134, 1996 HR 301 Page 2 of 2

Executive Office for Immigration Review and the Office of the Pardon Attorney shall be merged with
this appropriation.

VIOLENT CRIME REDUCTION PROGRAMS, ADMINISTRATIVE REVIEW AND APPEALS
For activities authorized by sections 130005 and 130007 of Public Law 103- 322, $47,780,000, to
remain available until expended, which shall be derived from the Violent Crime Reduction Trust
Fund: Provided, That the obligated and unobligated balances of funds previously appropriated to the
Generat Administration, Salaries and Expenses appropriation under title VIII of Public Law 103-317
for the Executive Office for Immigration Review shail be merged with this appropriatian.

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PL 104-134, 1996 HR 301° Page | of 3

GENERAL PROVISIONS--DEPARTMENT OF JUSTICE
SEC. 114. (a) GRANT PROGRAM.--Subtitle A of title I] of the Violent Crime Controi and Law
Enforcement Act of 1994 is amended to read as follows.

<< 42 USCA Ch. 136 >>

<<PUB#PG=1000457,1321-15>>"Subtitle A--Violent Offender Incarceration and
Truth-in-Sentencing Incentive Grants

<< 42 USCA § 13701 >>
"SEC. 20101. DEFINITIONS.

"Linless otherwise provided, for purposes of this subtitle--

"(1) the term ‘indeterminate sentencing’ means a system by which--

“(A) the court may impose a sentence of a range defined by statute; and

"(B) an administrative agency, generally the parole board, or the court, controfs release within the
statutory range;

"(2) the term 'part 1 violent crime’ means murder and nonnegligent manslaughter, forcible rape,
robbery, and aggravated assault as reported to the Federal Bureau of Investigation far purposes of
the Uniform Crime Reports; and

"(3) the term 'State' means a State of the United States, the District of Columbia, the
Commonwealth of Puerto Rico, the United States Virgin Islands, American Samoa, Guam, and the
Northern Mariana Islands.

<< 42 USCA § 13702 >>
"SEC. 20102. AUTHORIZATION OF GRANTS.

“(a) IN GENERAL. --The Attorney General shall provide Violent Offender Incarceration grants under
section 20103 and Truth-in-Sentencing Incentive grants under section 20104 to eligible States--
"(1) to build or expand correctionat facilities to increase the bed capacity for the confinement of
persons convicted of a part 2 violent crime or adjudicated delinquent for an act which if committed
by an adult, would be a part 1 violent crime;

"(2) to build or expand temporary ot permanent correctional facilities, including facilities on military
bases, prison barges, and boat camps, for the confinement of convicted nonviolent offenders and
criminal aliens, for the purpose of freeing suitable existing prisan space for the confinement of
persons convicted of a part 1 violent crime; and

"(3) to build or expand jails.

“(0} REGIONAL COMPACTS.--

"(J) IN GENERAL.--Subject to paragraph (2), States may enter into regional compacts to carry out
this subtitle, Such compacts shall be treated as States under this subtitle.

"(2) REQUIREMENT.--To be recognized as a regional compact for eligibility for a grant under section
20103 or 20104, each member State must be éligible individually.

“(3) LIMITATION ON RECEIPT OF FUNDS.--No State may receive a grant under this subtitle both
individually and as part of a compact.

"(c) APPLICABILITY. --Notwithstanding the eligibility requirements of section 20104, a State that
certifies to the Attorney General that, as of the date of enactment of the Department of Justice
Appropriations Act, 1996, such State has enacted legislation in reliance on subtitle A of title I] of the
Violent Crime Control and Law Enfercernent Act, as enacted on September 13, 1994, and wauld in
fact qualify under those provisions, shall be eligible <<PUB#PG=1000457,1321- 16>>t0 receive a
grant for fiscal year 1996 as though such State qualifies under section 20104 of this subtitle.

<< 42 USCA § 13703 >>
EC. 20103. VIOLENT OFFENDER INCARCERATION GRANTS.

“(a) ELIGIBILITY FOR MINIMUM GRANT .--To be eligible to receive a minimum grant under this

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PL 104-134, 1996 HR 301° Page 2 of 3

section, a State shall submit an application to the Attorney General that provides assurances that:
the State has implemented, or will implement, correctional policies and programs, including truth-in-
sentencing laws that ensure that violent offenders serve a substantial portion of the sentences
imposed, that are designed to provide sufficiently severe punishment for violent offenders, including
violent juvenile offenders, and that the prison time served is appropriately related to the
determination that the inmate is a violent offender and for a period of time deemed necessary to
protect the public.

“(b) ADDITIONAL AMOUNT FOR INCREASED PERCENTAGE OF PERSONS SENTENCED AND TIME
SERVED.--A State that received a grant under subsection (a) is eligible to receive additional grant
amounts if such State demonstrates that the State has, since 1993--

“(1) increased the percentage of persons arrested for a part 1 violent crime sentenced to prison; or
"(2) increased the average prison time actually served or the average percent of sentence served by
persons convicted of a part 1 violent crime.

Receipt of grant amounts under this subsection does not preclude eligibility for a grant under
subsection (c).

“(c) ADDITIONAL AMOUNT FOR INCREASED RATE OF INCARCERATION AND PERCENTAGE OF
SENTENCE SERVED, --A State that received a grant under subsection (a) is eligible to receive
additional grant amounts if such State demonstrates that the State has--

"(1) since 1993, increased the percentage of persons arrested for a part 1 violent crime sentenced
to prison, and has increased the average percent of sentence served by persons convicted of a part
1 vialent crime; or

"(2) has increased by 10 percent or more over the most recent 3-year period the number of new
court commitments to prison of persons convicted of part 1 violent crimes.

Receipt of grant amounts under this subsection does not preclude eligibility for a grant under
subsection (b). .

<< 42 USCA § 13704 >>

"SEC. 20104. TRUTH-IN-SENTENCING INCENTIVE GRANTS.

“(a) ELIGIBILITY.--To be eligible to receive a grant award under this section, a State shall submit an
application to the Attorney General that demonstrates that--

"(1) such State has implemented truth-in-sentencing laws that--

"(A) require persons convicted of a part 1 violent crime to serve not Jess than 85 percent of the
sentence imposed (without counting time not actually served, such as administrative or statutory
incentives for good behavior); or

"(B) result in persons convicted of a part 1 violent crime serving on average not less than 85 percent
of the sentence imposed (without counting time not actually served, such as administrative or
statutory incentives for good behavior);

"(2) such State has truth-in-sentencing laws that have been enacted, but not yet implemented, that
require such State, <<PUB#PG=1000457,1321-17> >not later than 3 years after such State submits
an application to the Attorney General, to provide that persans convicted of a part 1 violent crime
serve not less than 85 percent of the sentence imposed (without counting time not actually served,
such aS administrative or statutory incentives for good behavior); or

“(3) in the case of a State that on the date of enactment of the Departments of Commerce, Justice,
and State, the Judiciary, and Related Agencies Appropriations Act, 1996, practices indeterminate
sentencing with regard to any part i violent crime--

"(A) persons convicted of a part 1 violent crime on average serve not less than 85 percent of the
prison term established under the State's sentencing and release guidelines; or

"(B) persons convicted of a part 1 violent crime on average serve not less than 85 percent of the
maximum prison term allowed under the sentence imposed by the court (not counting time not
actually served such as administrative or statutory incentives for qood behavior).

"(6) EXCEPTION. --Notwithstanding subsection (a), a State may provide that the Governor of the
State may allow for the earlier release of--

“(1) a geriatric prisoner; or

“(2) a prisoner whose medical condition precludes the prisoner from posing a threat to the public,

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PL 104-134, 1996 HR 301: Page 3 of 3

but only after a public hearing in which representatives of the public and the prisoner's victims have
had an opportunity to be heard regarding a proposed release.

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